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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               FT. LAUDERDALE DIVISION


 CHRISTIE VICTOR,

        Plaintiff,

 v.                                                CASE NO.: 0:18-cv-60439-JEM

 NISSAN MOTOR ACCEPTANCE
 CORPORATION,

        Defendant.


                                          ./


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


               COMES NOW the Plaintiff, CHRISTIE VICTOR, and the Defendant, NISSAN MOTOR

ACCEPTANCE CORPORATION, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their

undersigned counsel, hereby stipulate to dismiss, with prejudice, each claim and count therein asserted by

Plaintiff against the Defendant, in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.

      By:
       /s/ Amanda J. Allen, Esq.                            /s/ Joseph A. Apatov, Esq.
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                                   CERTIFICATE OF SERVICE

      I certify that on August 31, 2018, a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                             s/Amanda J. Allen, Esq.
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